                 Case 2:16-cr-00067-JAM Document 159 Filed 01/11/19 Page 1 of 2


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 4
 5   Attorney for VIDAL GONZALEZ
 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                      Case No.: 16-067 JAM

11                    Plaintiff,                    STIPULATION AND ORDER
12                                                  VACATING DATE AND CONTINUING
                vs.                                 CASE
13
14   VIDAL GONZALEZ,                                DATE: January 15, 2019
                                                    TIME: 9:15 a.m.
15                    Defendants.                   JUDGE: Hon. John A. Mendez
16
17
18              IT IS HEREBY STIPULATED by and between Assistant United States Attorney

19   Richard Bender, Counsel for Plaintiff, and Attorney Clemente M. Jiménez, Counsel for

20   Defendant VIDAL GONZALEZ, that the sentencing hearing scheduled for January 15,

21   2019, at 9:15 a.m., be vacated and the matter continued to this Court’s criminal calendar

22   on March 19, 2019, at 9:15 a.m. for judgment and sentencing. Defense counsel

23   anticipates providing informal objections to US Probation, which will require additional

24   time for response. After consulting with the court regarding availability, the parties

25   propose the following briefing schedule:

26   Objections to Pre-Sentence Report: 2/21/19

27   Final PSR due: 2/26/19

28   Motion for Correction: 3/5/19




     01/10/19
                Case 2:16-cr-00067-JAM Document 159 Filed 01/11/19 Page 2 of 2


 1   Reply, or Non-Opposition: 3/12/19
 2   J&S: 3/19/19
 3
 4
 5   DATED:         January 10, 2019           /S/   Richard Bender
                                               McGREGOR SCOTT
 6                                             by RICHARD BENDER
 7                                             Attorney for Plaintiff
 8
 9                                             /S/   Clemente M. Jiménez
                                               CLEMENTE M. JIMÉNEZ
10                                             Attorney for VIDAL GONZALEZ
11
12
13                                            ORDER
14   IT IS SO ORDERED, that the sentencing hearing in the above-entitled matter, scheduled
15   for January 15, 2019, at 9:15 a.m. be vacated and the matter continued to March 19,
16   2019, at 9:15 a.m. for judgment and sentencing. It is further ordered that the briefing
17   schedule be modified as requested by the parties.
18
19   This 10th day of January, 2019

20                                                    /s/ John A. Mendez_____________
21                                                    HON. John A. Mendez
                                                      United States District Court Judge
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     01/10/19
